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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Peter Pilarski
                                Plaintiff,
v.                                                 Case No.: 1:17−cv−08659
                                                   Honorable Rebecca R. Pallmeyer
BetterNOI, LLC, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 8, 2018:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Status hearing held
on 8/8/2018. Defendant's motion to dismiss Plaintiff's Amended Complaint [38] is entered
and continued for briefing. Reply to be filed by or on 8/15/2018; ruling set for 8/21/2018
at 9:00 AM. Plaintiff's motion for class certification [41] is entered and continued for
briefing. Response to be filed by or on 8/29/2018; reply to be filed by or on 9/12/2018.
Mailed notice. (etv, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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